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          EXHIBIT 21
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From:       "Engle, Craig" <Craig.Engle@arentfox.com>
To:         Joey Allaham <joeyallaham13@gmail.com>
Subject:    FW: Joint Defense Communication: Joint Defense Meeting, February 24
Sent:       Wed 2/5/2020 9:09:27 PM (UTC)

See below

Craig Engle
Partner

Arent Fox LLP | Attorneys at Law
1717 K Street, NW
Washington, DC 20006-5344
202.775.5791 DIRECT | 202.857.6395 FAX
craig.engle@arentfox.com | www.arentfox.com



-----Original Message-----
From: Engle, Craig
Sent: Wednesday, February 5, 2020 4:09 PM
To: Kamin, Mitchell A <MKamin@cov.com>
Subject: RE: Joint Defense Communication: Joint Defense Meeting, February 24

Mitch - I spoke with my client and an he expressed a clear desire for me to go to the meeting - in addition
to Allison since she is new to the team - he wants to make sure his interests are adequately expressed
and all the background well-understood Let me know if this is ok with you and your client. Thank you.

P.S. I may also have some very relevant information about the plaintiff that I can share with the group.

Craig Engle
Partner

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-----Original Message-----
From: Kamin, Mitchell A <MKamin@cov.com>
Sent: Monday, February 3, 2020 4:02 PM
To: Engle, Craig <Craig.Engle@arentfox.com>
Subject: Re: Joint Defense Communication: Joint Defense Meeting, February 24

Thanks Craig. I see now that Allison Andersen appeared in the case. Would you mind connecting me
with her? Thanks, Mitch

Mitch Kamin mobile
mkamin@cov.com

On Feb 3, 2020, at 3:34 PM, Engle, Craig <Craig.Engle@arentfox.com> wrote:

[EXTERNAL]
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Mitch happy to hear from you. Tope is no longer with the firm. I will make different arrangements and let
you know. Thank you

Sent from my iPhone

On Feb 3, 2020, at 2:48 PM, Kamin, Mitchell A <MKamin@cov.com> wrote:


Attorney-Client Privileged; Subject to Joint Defense Agreement

Hi all -

Happy new year.

Ali Al Thawadi and HRH Sheikh Mohammed have requested that an attorney representing each member
of the JDA attend a litigation update meeting in London on February 24, at noon. Precise location and
details t/b/d.

Please confirm whether you can attend.

Thanks,
Mitch




Mitchell Kamin

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www.cov.com

<image001.jpg>




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